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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §            C.R. NO. C-09-084M-01
                                                 §
EDITH LUNA-MUNIZ                                 §


                        ORDER OF DETENTION PENDING TRIAL

       On February 6, 2009, a detention hearing was held in accordance with the Bail Reform

Act, 18 U.S.C. § 3142(f). Defendant has been charged with transporting aliens in violation of

8 U.S.C. § 1324. The following requires detention of defendant pending trial in this case:

       (1)     There is not any condition or combination of conditions that will reasonably

assure the appearance of the defendant as well as the safety of the community as required.

       The evidence against defendant meets the probable cause standard. The findings and

conclusions contained in the Pretrial Services Report are adopted.

       Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall

be afforded a reasonable opportunity for private consultation with defense counsel. On order of

a court of the United States or on a request of an attorney for the Government, the person in

charge of the corrections facility shall deliver defendant to the United States Marshal for the
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purpose of an appearance in connection with a court proceeding.

       ORDERED this 6th day of February 2009.



                                           ____________________________________
                                           BRIAN L. OWSLEY
                                           UNITED STATES MAGISTRATE JUDGE




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